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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SIMON TUSHA, et al. ,

              Plaintiffs ,

       V.                                        Civil Action No. 21-494-RGA

PEDIATRIC ASSOCIATES , P.A. , et al. ,

              Defendants.


                                         ORDER

       At Wilmington this 18th day of March, 2022 , consistent with the memorandum

issued this date,

       IT IS HEREBY ORDERED that:

       1.     The motion for appointment of guardian ad litem to represent interests of

J.T. (D .I. 6) is DENIED.

       2.     Defendants' motion to dismiss (D.I. 24) is GRANTED .

       3.     All claims raised on behalf of J.T. are DISMISSED without prejudice.

       4.     Plaintiff Simon Tusha is granted leave to amend only those claims that are

not time-barred , are not barred by reason of the Rooker-Feldman doctrine, and are

personal to Tusha . The amended complaint shall be filed on or before April 14, 2022.

Tusha may not raise any claims on behalf of J.T.     Tusha is placed on notice that the

Clerk of Court will be directed to close the case should Tusha fail to timely file an

amended complaint.
